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                     UNITED STATES DISTRICT COURT
                         DISTRICT OF IDAHO
                 U.S. MAGISTRATE JUDGE MINUTE ENTRY
(X) Arraignment
(X) Plea Agreement Hearing
(X) Detention Hearing

MAGISTRATE JUDGE: Raymond E. Patricco                              DATE: November 10, 2021
DEPUTY CLERK/ESR: Sunny Trumbull                                   TIME: 1:06 – 1:42 p.m.


       UNITED STATES OF AMERICA vs. DAVID MICHAEL GATES
            Case No. 1:21-cr-291-DCN-1

Counsel for:   United States (AUSA): David Morse
               Defendant: Daniel Taylor, retained counsel
               USPO: Gavin Zickefoose

(X) Waiver of Indictment entered.
(X) Defendant appears on a writ.
(X) Court reviewed the record. (X) Defendant placed under oath.
(X) Constitutional Rights to Jury Trial and Counsel advised.
(X) Maximum Penalties Provided.
( ) Indictment (X) Information ( ) Complaint
       (X) Copy furnished to defendant/understands the charges and maximum penalties
       ( ) Read by Clerk (X) Waived Reading ( ) Read by Interpreter

(X) Waiver of Right to District Judge executed.
Defendant found competent to enter a knowing and voluntary plea.
Defendant is satisfied with representation of counsel.
Government stated for the record the elements and evidence of the charge.
Defendant advised of the sentencing guidelines and maximum penalties.
Defendant’s Constitutional Rights explained.
Defendant agrees with the elements of the charge(s) as stated by the Government.
Plea Agreement discussed and Defendant understands the terms of the agreement.
Defendant and counsel advised the change of plea is voluntary, all potential defenses have been
discussed and Defendant fully understand the rights which are being waived.
Defendant entered a plea of guilty to Count 1 of the Information.
Plea accepted by the Court.

Sentencing set before Judge David C. Nye: February 15, 2022 at 2:00 p.m.
Court ordered a presentence investigation report.
       Original Report to Counsel: January 4, 2022
       Notification of Objections: January 18, 2022
       Final Report Due: February 1, 2022
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(X) Report and Recommendation shall be entered.

Any motions for departure, sentencing memorandums or letters in support must be filed 7 days
prior to the sentencing hearing. Sentencing hearing is scheduled for 1 hour.

Defendant advised of his right to a detention hearing and defendant waived.
Waiver/Order of Detention entered.

(X) Waiver of Right to Remain in Federal Custody entered. The Court stated it is not going to
order that the defendant be returned to state custody, as there will be no state charges.

(X) Defendant remanded to the custody of the USMS.
